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Eric Mcoonald FEB 0 6 2019

1518 Stellar Drive

Kenai, Alaska 9961 1 cLERKAHéS'_'§ng-rmc'r COURT
Phone (907)732-5291 | Fax (907)283-0850 RAGE. AK

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

Eric McDonald and Heather Johnson TORT COMPLAINT: llED; NIED; FALSlFYING
GOVERNMENT DOCUMENTS; FALSIFYING A
Plaimiff, MEchAL RECORD; PATIENT ABANDONMENT;
FRAUD; COERClON; CONSPIRACY; VIOLATIONS
VS- OF AS 23.30.250; PUBLIC DISCLOSURE OF

EMBARRASING FACTS; LIBEL; SLANDER;
- Soldoma Police Department; Officer Mark Berestoff- [NVASION ()F PRIVACY; OFFICIAL

Alaska Heart and Vascular, Dr. David Chambers, Robert MISCONDUCT; INTERFERENCE WlTH

T. Craig III - Delaney Wiles, Timothy Lamb CONSTITUTIONAL RIGHTS

Defendants

CIVlI_. RIGHTS COMPLAINT
(42 U.S.C § 1983, 42 U.S.C. § 1985 (2 &3) AND 28
U.S.C. § 1343) HlPPA VIOLATIONS

ADA VIOLATIONS f TITLE`S 11 AND III

Clvlr. No.; 7>`-10\-§§3»®‘);'3 _ m

 

 

 

 

Declaration of Pro-Se Status
Plaintiff’ S Heather Johnson and Eric McDonald present the following authorities in preparation

for their pro-se litigation;

Pro se pleadings are always to be construed liberally and expansively, affording them all
opportunity in obtaining substance of justicc, over technicality of form. Maty v. Gi'asselli Chemical Co.,
303 U.S. 197 (1938); Picking v. Pennsylvania Railroad Co., 151 F.2d 240 (31°‘ Cir. 1945); .lenkins v.
McKeithen, 395 U.S. 411, 421 (1959); I-Iaines v. Kerner, 404 U.S. 519, 520-21, 92 S. Ct. 594, 596, 30
L.Ed.2d 652 (1972); Cruz v. Beto, 405 U.S. 319, 322, 92 S.Ct 1079, 1081, 31 L.Ed. 263 (1972); Puckett
v. COX, 456 F. 2d 233 (6‘h Cir. 1972).

CIVIL RIGHTS COMPLAINT{42 U.S.C § 1983, 42 U.S.C. § 1985 (2 &3) AND 28 U.S.C. § 1343) HTPPA
VIOLATIONSADA VIOLATIONS ~ TITLE'S II AND III CIVIL NO.: - 1

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If the court can reasonably read the submissions, it should do so despite failure to site proper lega
authority, confusion of legal theories, poor syntax or sentence construction, or a litigant’s unfamiliarity
with particular rule requirements Boag v. MacDougall, 454 U.S. 364, 102 S.Ct. 700, 70 L.Ed.2d 551
(1981); Estelle v. Gamble, 429 U.S. 9, 106, 97 S.Ct. 285, 50 L.Ed.2d 251 (1976)( Quoting Conley v.
Gibson, 355 U.S. 41,45-46, 78 S.CT. 99, 2 L.Ed.2d 80 (1957)); Haines v. Kerner, 404 U.S. 519, 92 S.Ct.
594, 30 L.Ed.2d 652 (1972); McDowell v. Deleware State Police, 88 F.3d 188, 189 (3rd Cir. 1996);
United States v. DY, 969 F.2d 39, 42 (3"i Cir.l992); Then v. I.N.S., 58, F.Supp.2d 422, 429 (D.N.J 1999);

and, etc., along with numerous similar rulings.

When interpreting pro se papers, this Court is required to use its own common sense to determine
what relief that party either desires, or is otherwise entitled to. S.E.C. v. Elliot, 953 F. 2d 1560, 1582 (11lh
Cir. 1992). See also, United States v. Miller, 197 F.3d 644, 648 (3‘“ Cir. 1999) (court has a special
obligation to construe pro se litigants’ pleadings liberally); Poling v. K. Hovnanian Enterprises, 99
F.Supp.Zd 502, 506-07 (D.N.J 2000)

lndeed, the courts Will even go to particular pains to protect pro se litigants against consequences
of technical errors if injustice would otherwise result. U.S. v. Sanchez, 88 F.3d 1243 (D.C.Cir. 1996).
Moreover, “court is under a duty to examine the complaint to determine if allegations provide for relief on
any possible theory.” (Emphasis added) See, e.g., Bonner v. Circuit Court of St. Louis, 526 F.2d 1331,
1334 (8‘h Cir. 1975), Bramlet v. Wilson, 495 F.2d 714, 716 (8th Cir. 1974), Thomas W. Garland, lnc. v.
City of St. Louis, 596 F.2d 784, 787 (8lh Cir. 1979), Bowers v. Hardwick, 478 U.S. 186, 201-02, 106 S.Ct
2841, 92 ;.Ed.2d 140 (1986), Brooks v. Blue Cross and Blue Shield ofFla., Inc., 116 F.3d 1364, 1369
(11th Cir. 1997), O’Boyle v. Jiffy Lube International Inc., 866 F.2d 88 (3rd Cir. 1989).

M~;AM

Comes now, Eric McDonald & Heather Johnson, through and by his Next of friend Heather
Johnson, files this complaint concerning;
A. Jurisdiction (State & Federal)
(State) AS l 1.31.120, Conspiracy; AS 11.56.815, 'I`ampering with Public Records in the First Degree; AS
11.56.850, Official Misconduct; AS 11.61.120, Harassment; AS 11.76.110, lnterference With

CIVIL RIGHTS COMPLAIN'I`(42 U.S.C § 1983, 42 U.S.C. § 1985 (2 &3) AND 28 U.S.C. § 1343) HIPPA
VlOLATIONSADA VIOLATIONS - TITLE’S 11 AND III CIVIL NO.: - 2

 

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Constitutional Rights; AS 23.30.250, Fraudulent Acts, Alaska Workers’ Compensation ; (Federal) 28 U.S.C.

§ 1343, 42 U.S.C. § 1985 (2&3) and 42 U.S.C. § 1983. Title’s II &III of The American’s with Disabilities

Act.

B. Parties

1. Plaintiff: This complaint alleges that the civil rights violations and tortuous acts were committed

against Eric McDonald and Heather Johnson, next of friend to Eric McDonald, who both presently

reside at 1518 Stellar Drive Kenai, Alaska 99611 were violated by the actions of the individuals

named below;

2. Defendants:

a.

SOA/Soldotna Police Officer

Mark Berestoff,

44510 Sterling Hwy, Soldotna, Alaska 99669

Ofticer Mark Berestoff is a citizen of Alaska and is employed by the Soldotna police
department Ofticer Mark Berestoff was acting under color of State law during the time the
claim occurred. This defendant personally participated in causing my injuiy. The actions,
policy or custom of this official government agency violates my rights and l seek injunctive
relief`.

City of Soldotna Police Departrnent

44510 Sterling Hwy, Soldotna, Alaska 99669

This is the department that Mark Berestoff worked for during the cause of action.

Alaska Heart and Vascular Doctor
David Chambers,

3841 Piper Street Anchorage, Alaska 99508

CIVIL RIGHTS COMPLAINT(42 U.S.C § 1983, 42 U.S.C. § 1985 (2 &3) AND 28 U.S.C. § 1343) HIPPA
VIOLATIONSADA VIOLATIONS ~ TITLE’S II AND III CIVIL NO.: - 3

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Dr. David Chambers is a citizen of Alaska and employed by Alaska Heart and Vascular. This
defendant personally participated in causing my injury. The actions, policy or custom of this
official government agency violates my rights and 1 seek injunctive relief.

Alaska Heart and Vascular, CEO

Robert T. Craig 111,

3841 Piper Street Anchorage, Alaska 99508

Robert T. Craig lII is a citizen of Alaska and employed by Alaska Healt and Vascular. This
defendant personally participated in causing my inj ury. The actions, policy or custom of this
official government agency violates my rights and I seek injunctive relief.

Delaney Wiles, Attomey

Timothy Lamb, 3841 Piper Street Anchorage, Alaska 99508

Timothy Lamb is a citizen of Alaska and employed by Delaney Wiles. This defendant
personally participated in causing my injury. The actions, policy or the custom of this official

government agency violates my rights and 1 seek injunctive relief.

C. Cause of Action:
Claim 1: IIED
The plaintiffs intend to establish a Prima Facia Case that;
1. The defendants conduct is outrageous;

2. The defendants committed these acts for the purpose of causing the plaintiffs emotional

distress so severe that it could be expected to adversely affect mental health;

3. The defendant’s conduct caused such distress.

 

 

On or about February 6"‘, 2017, and following through to the present date, the following parties

did commit the act of IIED on the plaintiffs

CIVIL RIGHTS coMPLAINT(42 U.s.c § 1983, 42 U.s.c. § 1985 (2 &3) AND 28 U.s.c. § 1343)H1PPA
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1. Defendant Doctor David Chambers: Did willfully and purposely assault Heather Johnson
with intent to restrain, causing emotional and physical distress intentionally and with purpose
These acts were admitted to by defendant Chambers. (Acts recorded and played for defendant
Officer Mark Berestoft)

2. Defendant Mark Berestoff: The defendant failed to investigate criminal acts committed
against Plaintiff Johnson, He ignored obvious criminal acts which were admitted by the

l perpetrator, Dr. Chambers, when he assaulted Plaintiff Johnson, The defendant approached
the medical office of the Plaintiff heart doctor and elicited HlPPA violations from Dr.
Chambers, violating F ederal law. After repeated requests, the defendant ignored requests to
provide equal protection under the law, instead siding with the doctor, who was the subject of
a valid criminal complaint, without any investigation whatsoever. Defendant Berestoff
Wrongfully made a medical determination that the plaintiff s were “mentally ill” as a result of
their report of Dr. Chamber’s assault on Johnson. He then breached his duty as a police
officer and purposely informed the doctor that McDonald and Johnson were recording the
doctor’s office and instructed the doctor to inform his entire staff of this. He then falsely
asserted to the doctor and his office that this act (recording) was illegal in Alaska and that
Alaska was a 2 party state, and that the doctor and his staff should “be careful” conducting
business with the plaintiff s. Defendant Berestoff’s exclamations were misleading and false,
and uttered with intent to harm the plaintift"s. He knew (or should have known) that these
utterances would lead to the dismissal of McDonald as a patient and cause him financial and
emotional distress.

3. Defendant Robert T. Craig III: The defendant authored a hearsay letter which accused the

plaintiff McDonald of “unbridled aggression” (To distract and defend against Dr. Chamber’s

CIVIL RIGHTS COMPLAINT(42 U.S.C § 1983, 42 U.S.C. § 1985 (2 &3) AND 28 U.S.C. § 1343) HIPPA
VIOLATIONSADA VIOLATIONS - TITLE’S 11 AND 111 CIVIL NO.: - 5

 

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actions) and which he “trespassed” McDonald from every Alaska Heart and Vascular in the
state of Alaska. He then provided this letter to McDonald’s Worker’s Compensation
insurance adversary with intent to cause emotional and financial harm. (Tliis letter is
uncorroborated and contradicts thc actual events recorded and played for Officer Berestoff)
Defendant Timothy Lamb: The defendant authored a letter which “trespassed” McDonald
from every Alaska Heart and Vascular in the state of Alaska and threatened plaintist
McDonald and Johnson that he would “sue” them if they mentioned the Chambers assault to
anyone. The defendant’s law firm then represented ExamWorks (McDonald’s adversary’s
medical firm in his Worker’s Compensation claim) colluding with the plaintiff s insurance
company’s attorney firm to gain access to confidential records with intent to use in a legal
defense of Chamber’s possible suit. Lamb did these things with intent to cause emotional and

financial distress.

Claim 2 : NIED

On February 6"1, 2017, and following through to the present date, the following defendants did

commit the act of negligent infliction of emotional distress;

1.

Defendant Dr. David Chambers: During the medical visit on February 6“', 2017, Chamber’s
accused the plaintist of “lying about their injuries to get a social security or worker’s
compensation settlement”. He made these statements of his own volition, without any
apparent medical proof or reason, other then medical records provided by the adversarial
worker’s compensation insurance company or through their business associates (counsel,
adjuster, nurse case manager, etc.) By doing this, he provided the insurance company an
avenue to cause harm to the plaintiffs worker’s compensation claim. Chamber’s assault of
Johnson had the affect of Alaska Heart and Vascular dismissing McDonald nom their

practice through no fault of McDonald’s. Chamber’s utterance’s to Ofticer Berestoff about

CIVIL RIGHTS COMPLAIN'I`(42 U.S.C § 1983, 42 U.S.C. § 1985 (2 &3) AND 28 U.S.C. § 1343) HIPPA
WOLATIONSADA VIOLATIONS - TITLE’S II AND III CIVIL NO.: - 6

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“the patient (McDonald) being “being fired (dismissed) by a pain clinic” had the affect of
harming the plaintiffs claim. These and other actions of Chambers had the effect of causing
negligent infliction of emotional distress.

2. Defendant Officer Mark Berestoff: Berestoff’s utterances about the plaintiff s recording the
medical visit to Chamber’s caused the doctor’s office to dismiss the McDonald from the
practice. This also caused the adversarial insurance company (worker’s compensation) to
portray that McDonald’s “actions” caused the dismissal, and not the actual reason, Chamber’s
assault being a cause for concern about a lawsuit. While Berestoff"s purposeful false notion
of the act of recording being `illegal in Alaska was done to inflict intentional distress, this
also inflicted negligent distress by allowing the insurance company to utilize these issues in
their pursuit of defending their worker’s compensation claim.

3. Defendant Robert T. Craig III: Craig’s letter “trespassing” McDonald from the entire state’s
Alaska purposefully falsified the actual events and he purposefully provided this letter to the
adversarial insurance company, but it also allowed the insurance company (worker’s
compensation) to deny their influence in the claim, which led to a board decision allowing the
letter to be published in a publicly disclosed decision that damaged McDonald’s reputation

and credibility, causing both intentional and negligent infliction of emotional distress.

Claim 3: Falsifving Govemment Documents
l. Defendant Mark Berestoff: Officer Berestoff’s report and the resultant historical record
falsely portrayed his role in the investigation and his conduct in the plaintiffs report of

Chamber’s assault of Johnson and questioning of Chambers.

Claim 4: Falsif`ying a Medical Record

CIVIL RIGHTS COMPLAINT(42 U.S.C § 1983, 42 U.S.C. § 1985 (2 &3) AND 28 U.S.C. § 1343) HIPPA
VIOLATIONSADA VIOLATIONS - TITLE’S II AND 111 CIVIL NO.: - 7

 

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l. Defendant Dr. David Chambers: Chamber’s resultant medical record of the events are
falsified to cover up his actions, both with the assault and his false accusations against the
plaintiffs “lying” about McDonald’s injuries for secondary gain.

2. Defendant Robert T. Craig 111: Craig’s letter was not medical for purposes of medical
documentation but it was used in a notice of intent to rely by the adversarial insurance
companies defense against the worker’s compensation claim against them. This letter, which
falsely alludes to McDonald’s “unbridled aggression” as being the reason he was “dismissed
and trespassed” from the entire state’s offices, was unverified, uncorroborated and impeached
by the recording of the actual events. Thus the letter, used as a medical documentation within

the worker’s compensation process, was falsified and caused damage to the plaintiffs claim.

Claim 5 : Patient Abandonment

The plaintiff (McDonald) was seeking cardiac care from Alaska Heart and Vascular. There was

no other cardiac care available within the state of Alaska, so when he was dismissed, this caused

the plaintiff to be abandoned by Alaska Heart and Vascular with no other way to seek care.

l. Defendant Robert T. Craig III: Craig’s position as CEO and his letter trespassing the plaintiff
cause him to be responsible for this abandonment

2. Defendant Timothy Lamb: Lamb also issued an “trespass” notice, leading to the

abandonment of McDonald’s cardiac care.

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The defendants involved with these issues both put forth false assertions to defend against their
actions and falsified their records in the process.

1. Defendant Dr. David Chambers: Chambers falsification of his medical record led to the false

portrayal of McDonald’s medical conditions, which are a part of a worker’s compensation

CIVIL RIGHTS COMPLAINT(42 U.S.C § 1983, 42 U.S.C. § 1985 (2 &3) AND 28 U.S.C. § 1343) HlPPA
VIOLATIONSADA VIOLATIONS - TITLE’S II AND 111 CIVIL NO.: - 8

 

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Claim 7 : Coercion

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claim for injuries that were caused by a work accident Chambers falsification of these
injuries amounts to medical fraud, allowing the employer’s in the worker’s compensation
claim to benefit from this fabrication.

Defendant Officer Mark Berestoff: Berestoff’ s comments concerning the legality of recording
of conversations in Alaska caused the doctors office to act on this false assertion Berestoff’s
wrongful deception was intended for Dr. Chamber’s office to garner a personal or financial
benefit from his information

Defendant Robert T. Craig III: Craig’s letter was unproven and false. It was authored with the
intent to defend against Dr. Chambers assaultive behavior by distracting all parties from the
true events This was made to garner financial and personal benefit for Chambers and Alaska
Heart and Vascular as a whole. McDonald’s trespassing was a fraudulent notion, as he did not
exhibit “unbridled aggression” at all. Johnson was a patient of Chambers as well yet she was
not trespassed. .1 ohnson filed the assault report, she was the one assaulted and yet for some
reason the finger was pointed at McDonald as the “aggressor”. (See audio for complete
impeachment of all parties assertions that McDonald displayed “unbridled aggression”) The
employer in McDonald’s worker’s compensation claim’s use of the Craig letter to attempt to
defend against their own fraud in the work comp claim is suspicious because Craig had no
reason to have provided this letter to the employer except under collaborative circumstances
Defendant Timothy Lamb: Lamb’s letter was meant as a personal threat to the plaintiffs It
was also meant to stop the plaintiffs from filing a lawsuit against Dr. Chamber’s and Alaska
Heart and Vascular as a whole. This letter was clearly established with information that was

known to all parties to be false, and therefore fraudulent in nature.

Defendant Robert T. Craig: Craig’s letter accused McDonald of “unbridled aggression”,

falsely and without merit. (See audio of medical visit) The affect of this letter Was to coerce

 

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the plaintiffs to “back off’ of their intentions to sue Chambers, or bad things would happen.
Craig had already “trespassed” McDonald merely because Johnson filed an assault charge
against Chambers. Craig’s trespassing of McDonald was a coercive act meant to stop them
from continuing on a legal course of action. The trespassing itself was fraudulent as it omitted
certain issues such as the fact that Johnson was also a patient of Chambers but was not
“trespassed”. Many other issues arise when the true nature of why McDonald was thrown out
of Alaska Heart and Vascular is realized.

2. Defendant Timothy Lamb: Lamb’s letter was a direct threat for the plaintiffs (McDonald and
Johnson) to refrain from filing a lawsuit or they would be sued themselves This threat to
“keep their mouths shut or be sued” was a coercive act. Lamb later called plaintiffs and
threatened them that he “always wins” his cases and that they should stick to easier and more
“apparent” targets and not sue Alaska Heart and Vascular. (See Timothy Lamb audio) Lamb
also threatened McDonald that “if he pursued a law suit,~ that all of his private medical

records would be open for inspection” as a coercive tactic to inhibit the lawsuit

Claim 8 : Conspiracy §authority 42 U.S.C. § 1985.)

All defendant’s actions form a cohesive bond to the employer in the plaintiffs workers
compensation claims interests and are furthered to deprive the plaintiffs constitutional right to
life liberty and the pursuit of happiness and medical care.

l. Defendant Dr. David Chambers: Chambers accusatorial comments about McDonald’s “lying
about his pain to get a social security or workers compensation settlement” can be traced bach
to the insurance company. These are that exact arguments of the insurance company, The
receptionist on the phone told McDonald as he was walking into the visit that “she had just

got off the phone with the adjuster to approve the EKG”. Chambers left the room in the

CIVlL RIGHTS COMPLAINT(42 U.S.C § 1983, 42 U.S.C. § 1985 (2 &3) AND 28 U.S.C. § 1343)H1PPA
VIOLATIONSADA VIOLATIONS - TITLE’S 11 AND 111 CIVIL NO.: - 10

 

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middle of the visit to “get records”. The Providence discharge records in his possession at the
time of Johnson’s assault are the exact records that the insurance companies doctors have
been directing McDonald’s doctors towards as a means to “prove” the insurance companies
case. These records are federally protected records that had been used by the insurance
company to attempt to corrupt McDonald’s care by influencing his doctors into drinking he
had an ongoing substance abuse problem. These same records caused his outburst at Johnson
that resulted in him assaulting her. The plaintiffs state that there is not a single act that
should have caused a doctor to reach out and grab a patient advocates arm during a visit, ever
Whatever reason Chambers had was contained in those records which was why he reacted so
violently. Chambers was “preoccupied” with the sentiment that McDonald had an issue with
prescription medication, which was the insurance companie’s argument Chambers even told
Officer Berestoff that McDonald was “fired from a pain clinic” as a “negative connotation”
when Berestoff interviewed him. Chambers told Berestoff that “McDonald was looking for
any reason to have pain”. These notions were not made by Chambers out of the course of
their visit, they were ingrained in Chambers before McDonald even came to the visit, The
doctor’s accusation is unusual because McDonald had symptoms suffered heart trauma in the
original work accident, suffered from what he thought was a heart attack that Providence
refused to work up and had numerous EKG’s after the fact that showed an “old myocardial
infarction, inferior heart damage”, from several institutions McDonald had suffered a
catastrophic accident with multiple injuries that would be related to heart trauma including
bilateral first rib fractures and a pneumopericardium He suffers from severe central sleep
apnea that was caused by the accident Any of these issues could point to heart trauma
beyond the pneumopericardium in Providence, including blood pressure drops dizziness,
ringing in ears, crushing heart pain, nausea and shortness of breath, bilateral lung collapse,

pneumomediastinum, hemothorax among many other pulmonary injuries Chambers falsified

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his medical report about these conditions, including his fabrication that McDonald suffered
from “obstructive sleep apnea” and not “central sleep apnea” and that Chambers went over all
the records with him, which he did not. Central is associated with heart issues, brain or spinal
cord trauma while obstructive is not. Chambers had no reason not to believe McDonald based
on the objective records It was unusual and unethical to accuse McDonald of “lying” about
his injuries, especially since there were so many proven issues Chambers falsifies his record
when he says that “he cannot point to a traumatic cause of heart injury” when he knew about
the pneumopericardium and the traumatic injury to the chest, bilateral first ribs, C-5 wedge
fracture and all the other injuries which any one could have caused heart issues

2. Defendant OfEcer Mark Berestoff: Berestoff took the plaintiffs report of the events and
ongoing insurance fraud and relayed these issues to Chambers. Berestoff dismissed the
plaintiffs as “mentally ill” and “paranoid”. He said this several times He told Chambers that
McDonald “went up and down the west coast looking for diagnosis” without a clear
understanding of what he was saying. He literally laughed about Chambers assault on
Johnson, He laughed about the fact that he thought the plaintiff s were “mentally ill and
paranoid”. Berestoff elicited Chambers to reveal HlPPA protected records They had a
congenial meeting which unless a person were told before hand, the subject of the meeting
appears to have McDonald and or Johnson as the suspect in a criminal inquiry and not
Chambers. Berestoffs instruction to Chambers to “tell his staff’ about the recording by the
plaintiffs was a clear attack on the plaintiffs right to medical treatment, Which involves
Berestoff in conspiring to deprive McDonald of care along with Chambers, Lamb, Craig, the
counsel for the insurance company and the adjuster for the insurance company.

3. Defendant Robert T. Craig 1111 Craig had a cordial conversation with McDonald right after
the Chambers assault This was recorded. Craig stated he would “investigate” and apologized

for Chambers actions, He then authored the trespass letter and provided this letter to the

CIVIL RIGHTS COMPLAINT(42 U.S.C § 1983, 42 U.S.C. § 1985 (2 &3) AND 28 U.S.C. § 1343) Hl`PPA
VIOLATIONSADA VIOLATIONS - TITLE’S 11 AND 111 CIVIL NO.: - 12

 

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insurance companies counsel Colby Srnith, which the insurance company utilized in a notice
of intent to rely letter to the Workers Compensation Board to say that McDonald has caused
his own dismissal of Alaska Heart and Vascular. This letter is used in a publicly published
decision, 18-0109 by the Work Comp Board, to humiliate McDonald and draw away from the
insurance companies attacks on his providers Craig readily assisted the insurance company
and all defendants in conspiring against McDonald, knowing that his letter was not
corroborated, in an attempt to defend Chambers.

4. Defendant Timothy Lamb: Lamb authored the coercion letter, alongside the Craig threat
letter. Lamb threatened to sue the plaintiffs if they “spoke” of the assault in any way. Lamb
called the plaintiffs to remind them he “never lost a case” and that it would be a “mistake” to
go after Alaska Heart and Vascular, as they would be stuck with attorneys fees once he was
done with them and they wouldn’t be able to afford that He conspired right along with the

other defendants to commit tortuous acts to stop the plaintiffs ij'om filing a complaint

Claim 9 : Violations of AS 23.30.250
All defendants All defendants violated AS 23.30.250 by making false and misleading

statements that affected a medical benefit in the plaintiffs workers compensation claim.

Claim 10 : Public Disclosure of Embarrassing Facts

l. Defendant Dr. David Chambers: Chambers disclosed McDonald’s personal HlPPA protected
information, that was inaccurate by falsely assuming McDonald was actively using
substances or seeking medication.

2. Defendant Mark Berestoff: Berestoff diagnosed that the plaintiffs were mentally ill and
paranoid, without a medical license. He falsely accused the plaintiffs of “illegally” recording

conversations to Chambers and the staff. He asked Chamber’s to tell his “colleagues” that

CIVIL RIGHTS COMPLAINT(42 U.S.C § 1983, 42 U.S.C. § 1985 (2 &3) AND 28 U.S.C. § 1343) HlPPA
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they were doing this, which translated to the entire state of Alaska in a dozen offices, which
ultimately led to the plaintiffs dismissal and trespassing

Defendant Robert T. Craig III: Craig’s letter was taken by the Board and placed on an open
public legal decision describing McDonald’s unproven “unbridled aggression”, humiliating

and harming McDonald.

Claim l 1 : Libel

Defendant Chambers : Chambers published a false medical record that lied about
McDonald’s medical conditions in such a way that the insurance company could use it to
defend against an injury obviously caused by the work accident

Defendant Mark Berestoff: Berestoff wrote falsehoods in his report about the assault and
resultant facts surrounding the plaintiffs claim which damaged the plaintiffs credibility and
position in his Workers Compensation claim.

Defendant Robert '1`. Craig 111: Craig lied in his letter provided to the insurance company for
the sole purpose of emotional and financially damaging the plaintiff s, especially McDonald.
It’s public disclosure harmed McDonald’s credibility, employability and overall work comp
claim.

Defendant Timothy Lamb: Lamb’s letter had the same affect as Craig’s, and McDonald was

forced to introduce it into the board file as a defense for the Craig letter.

Claim 12 : Slander

All defendant’s committed slander towards the plaintiffs (See previous compliant)

Claim 13 : lnvasion of Privacy/Constitutional Right to Privacy

All defendant’s actions violated the plaintiffs Alaska Constitutional right to privacy.

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1. Defendant Chambers: Chambers violated McDonald’s right to privacy by disclosing private
medical information to Berestoff,

2. Defendant Berestoff: Berestoff disclosed the plaintiffs private act of recording to Chamber’s
and the entire Alaska Heart and Vascular entity, causing McDonald to be discharged and
unable to seek care in the state of Alaska, irreparably harming him physically, emotionally
and fmancially. McDonald may have to move out of state to seek cardiac care along with
other care after the damaging disclosure of private information caused by the defendant’s.

3. Defendant Robert T. Craig: Craig’s submission of McDonald’s private information
concerning his discharge from Alaska Heart and Vascular to Colby Smith, counsel for the
insurance company in McDonald’s workers compensation claim, was done so without

McDonald’s knowledge or approval.

Claim 14 : Offlcial Misconduct

l. Defendants City of Soldotna and Officer Mark Berestoff: Berestoff committed official
misconduct by breaching his duties as an officer in all of his actions and statements to
Chambers, outlined in the above complaint Hc did so in an egregious and outrageous manner
that was purposely done to harm both plaintiffs in a manner that would have been known to
Berestoff to end his care and damage his worker’s compensation claim. These actions were

made in an official capacity, making the City of Soldotna responsible for his actions.

Claim 15 : lnterference With Constitutional Rigl_its

All defendants interfered with the plaintiffs constitutional rights,
1. Right to Privacy: Chambers, Berestoff and Craig.

2. Equal Access and Protection Under the Law: City of Soldotna, Chambers, Officer Berestoff,

Robert Craig,
CIVIL RIGHTS COMPLAlNT(42 U.S.C § 1983, 42 U.S.C. § 1985 (2 &3) AND 28 U.S.C. § 1343) HIPPA
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D. Civil Rights Comp_laint

The plaintiffs claim that the following authorities have been infringed upon by the defendant’s as
described in Claim’s 1~15;
(42 U.s.c § 1983, 42 U.s.c. § 1985 (2 &3) and 28 u.s.C. § 1343) HlPPA vloLATIoNs

ADA Violations - Title’s II AND III

E. Supporting Facts

Plaintiff Johnson was assaulted in Dr. Chambers office after he accused plaintiff
McDonald of “lying about his injuries for secondary gain” without any medical proof or rcasoning. The
plaintiffs contend that Chambers was inf1uenced by McDonald’s worker’s compensation claim,
employer’s counsel and adjustment firm, who is defending at all costs a catastrophic accident that
occurred several years before (6-13-14) and which was the reason McDonald presented at Chambers
office that day. The doctor’s exclamations were eerily similar to the insurance company’s claims.

When Chambers accused McDonald of lying about his injuries for secondary gain, the
plaintiffs stood up to leave and Johnson looked down and saw that the records Chambers was had
retrieved earlier from another room were the same medical records that the insurance company had been
using to influence McDonald’s other doctors, for years. These records contained a diagnosis of a
confidential nature that were fi‘om McDonald’s distant past and the insurance company was using these
records to improperly influence every doctor and provider McDonald would see, to disrupt care and cause
lack of confidence in the doctors wanting to treat McDonald, and had already caused immense disruption.

Johnson picked up the records and became upset, and both her and Chambers knew why,
because the records he was looking at proved that he had been improperly accusing McDonald of
secondary gain by allowing the insurance company in the worker’s compensation claim to influence his

medical decisions.

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Chambers grabbed Johnson’s arm and stated “You can’t take my records”. McDonald
stated,” did you just grab her? 1 can’t believe you just grabbed her.” Later McDonald asks Chambers why
his hands were shaking so badly during the entire examination, asserting that the insurance companies
influence had upset Chambers.

Johnson then went to the Soldotna Police Department to file an assault charge. Officer
Mark Berestoff concluded immediately that Chambers “had not committed any crime”. He did not
investigate, did not consider the actual events and concluded that Johnson did not meet the criteria for
“assault” in her description He informed Chambers of this in his interview of hjm. He dismissed her
being “in fear” without even asking her if she was, he merely laid out that “because she didn’t tell him she
was in fear that that meant she wasn’t”. After repeated attempts to follow up with the report, the police
department refused to investigate and seemed more intent on ignoring the situation. A year and a half
later, after a complaint was filed, McDonald met with the Soldotna Police Chief (and Johnson
telephonically) and the conversation was that Berestoff had given false information to Dr. Chambers
oflice and McDonald let the chief know this caused him immense financial and emotional distress and
damage by him not being able to treat his cardiac issues and this leaving him in fear of his life, as well as
his worker’s compensation adversary using the situation to accuse McDonald of being the aggressor in
the Chambers incident, which led to his dismissal and trespassing. 'l` his was not the case, as McDonald
asserted to the chief that it was the result of Berestoffs improper informing of Chambers and his staff that
McDonald was “illegally recording”. The chief and another officer concurred that Berestoff had falsely
portrayed the law to Chambers. McDonald and Johnson later filed a complaint with the City of Soldotna,
in which they announced their intention to pursue legal action as a result of the emotional stress and
financial damage that had occurred to both plaintiff s.

The plaintiffs were only recording the medical visit and all subsequent visits and

processes which involved workers compensation due to the employer, insurance company, adjusting

CIVIL RIGHTS COMPLAINT(42 U.S.C § 1983, 42 U.S.C. § 1985 (2 &3) AND 28 U.S.C. § 1343) HIPPA
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company and counsel’s &aud and bad acts throughout this claim. This has proven to be necessary for
more then one occasion, due to the outrageous acts of these parties.
F. Reguest for relief
Plaintiff requests that this court grant the following relief;
l. Damages in an amount to be determined by the court/jury.
2. Darnages for pain and suffering: As determined by the court.
3. Punitive damages in an amount to be determined by the court/jury.
4. An order requiring the defendants to;
Direct the Soldotna Police Department, Alaska Heart and Vascular and Timothy Lamb to undergc
extensive ADA training specifically for people with physical and mental disabilities and past
substance use disorder issues. The Police Department and Alaska Heart and Vascular employee’s
should take a class on 42 CFR Part 2 (42 U.S.C. §290dd) to establish confidentiality rules;
Require Soldotna Police Department to undergo extensive ethical training concerning injured
workers confidentiality rights, proper transactional etiquette concerning interrogation of medical
professionals, instruction on ADA/HlPPA disclosures as they apply to doctors/victims of assault,

police officer training for how to recognize mental illness and its relationship to an investigation

Plaintiff s Right to Arnend

Plaintiffs Heather Johnson and Eric McDonald reserve the right to amend any portion of the

complaint as information becomes available through discovery.

DECLARATION UNDER PENALTY OF PERJURY
The undersigned declares under penalty of perjury that he/she is the plaintiff in the above action

that he/she read the above civil rights/tort law complaint is true and correct to the best of their

knowledge
CIVIL RIGHTS COMPLAINT(42 U.S.C § 1983, 42 U.S.C. § 1985 (2 &3) AND 28 U.S.C. § 1343) HlPPA
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Executed at Kenai, Alaska on February 6“‘, 2019.

 

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Heather Johnson

Plaintiffs Signatures

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